UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
RAFAEL CID, on behalf of himself and all others
similarly situated,

                                   Plaintiff,
                 -against-                                                 20 CIVIL 10054 (GBD)

                                                                              JUDGMENT
BB MANAGEMENT OF NEW YORK CORP.,

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Decision and Order dated September 7, 2022, Defendant's

motion for summary judgment is GRANTED; accordingly, the case is closed.

Dated: New York, New York

          September 8, 2022


                                                                         RUBY J. KRAJICK

                                                                      _________________________
                                                                             Clerk of Court

                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
